


  ON APPLICATION FOR ADMISSION TO THE BAR
 

  PER CURIAM.
 

  After reviewing the evidence and considering the law, we conclude petitioner, Michael A. Kennedy, is eligible to be conditionally admitted to the practice of law in Louisiana, subject to a probationary period of three years. During this period, petitioner shall provide evidence to the Office
   
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  of Disciplinary Counsel, on at least a quarterly basis, demonstrating that he has made a good faith effort to satisfy his financial obligations. Should petitioner fail to make a good faith effort to satisfy his financial obligations, or should he commit any misconduct during the period of probation, his conditional right to practice may be terminated or he may be subjected to other discipline pursuant to the Rules for Lawyer Disciplinary Enforcement.
 

  CONDITIONAL ADMISSION GRANTED.
 
